Case 0:21-cv-60125-RNS Document 196-2 Entered on FLSD Docket 08/08/2023 Page 1 of 2




                                    Exhibit B
Case 0:21-cv-60125-RNS Document 196-2 Entered on FLSD Docket 08/08/2023 Page 2 of 2


                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                          )
   JIANGMEN BENLIDA PRINTED                               )
   CIRCUIT CO., LTD.,                                     )
                                                          )
                           Plaintiff,                     )
                                                          )
                   v.                                     )           No. 21-60125-CIV-Scola/Goodman
                                                          )
   CIRCUITRONIX, LLC,                                     )
                                                          )
                           Defendant.                     )
                                                           )

                                             Proposed Order

           Upon consideration of plaintiff Jiangmen Benlida Printed Circuit Co. Ltd’s motion in

   limine to preclude from testifying at trial defendant Circuitronix, LLC’s proposed expert on

   Chinese law, Professor Wei Cui, and testimony related thereto, and to preclude testimony or

   documentation from being introduced at trial concerning plaintiff Benlida’s trade-credit

   insurance, it is by this Court:

           Ordered that the motion is granted; and it is further,

           Ordered that Circuitronix, LLC, is precluded, in questioning Benlida’s witnesses at trial,

   from raising the issue of Benlida’s or ROK’s obligations with respect to, or compliance vel non

   with, Chinese regulatory law, including Chinese foreign exchange and customs regulations and

   Chinese trade credit reporting obligations; and it is further,

           Ordered that Circuitronix, LLC, is precluded, at trial, from introducing testimony or

   documentation regarding plaintiff Benlida’s trade-credit insurance with Sinosure.

           Done and ordered in Miami, Florida, on ___________, 2023.



                                                               Robert N. Scola, Jr.
                                                               United States District Judge
